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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

 JOHN MAHON, SHELBY MAHON and
 PAUL MAHON,

                           Plaintiff,

 -vs-                                               Case No. 5:04-cv-49-Oc-10GRJ

 U.S. DEPARTMENT OF AGRICULTURE,

                     Defendant.
 _____________________________________/

                                         ORDER

        This appeal from an administrative agency’s final decision is before the Court for

 consideration of the Plaintiff’s Motion for Summary Judgment (Doc. 32), to which the

 agency has responded (Doc. 36). The motion is ripe for review and the Court concludes

 that summary judgment it is due to be entered in favor of the agency and the agency’s

 decision is due to be affirmed.

                                        Background1

        In January 2001, the Plaintiffs filed applications for disaster assistance under the

 Florida Nursery Program, a federally funded program for disaster relief established by

 the Defendant, the United States Department of Agriculture (USDA or agency),




        1
                The record for case number 2002S000917 involving John and Shelby Mahon is
 referred to herein as R.917, and the record for case number 2002S000920 involving Paul Mahon
 is referred to herein as R. 920.
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 pursuant to 7 C.F.R. § 1480 et seq.2 The Plaintiffs applied for disaster assistance

 because uninsured plants in their nursery suffered freeze damage in November and

 December of 2000.3

       On November 9, 2001, the Lake County Committee of the USDA denied the

 Plaintiffs’ applications for disaster relief on the grounds that the Plaintiffs were ineligible

 for payment because they were not operating as a “commercial nursery” at the time of

 the disaster and because the Plaintiffs had “not followed best management practices.”4

 Specifically, the Committee concluded that when the Plaintiffs lost their plants to a

 freeze, the Plaintiffs had not renewed their certificate of registration, which was required

 under Florida law for a nursery to sell or distribute nursery stock in Florida. Therefore,

 the Plaintiffs’ nursery did not meet the “eligibility criteria for a commercial nursery

 operation.”5 In addition, the County Committee concluded that the Plaintiffs did not

 follow “best management practices” because “the amount of inventory submitted [as

 destroyed and eligible for disaster relief] was in excess of the amount of land available




       2
               R.917 pg. 3-8. Paul Mahon’s application for benefits is not included in the record,
 however the fact that he applied for benefits is easily inferred from the documents that are
 included in the record.
       3
              R. 917 pg. 3-20.
       4
               R. 917 pg. 1204-1206; R. 920 pg. 76-79. The letters denying the Plaintiffs’
 applications for benefits are stamped received, November 13, 2001.
       5
              R. 917 pg. 1204.
                                                2
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 for growing this crop” and the Plaintiffs employed “growing liners without a

 greenhouse.”6

       On May 25, 2002, Plaintiff Paul Mahon’s application for disaster relief was denied

 for a second time for the same reasons.7

 A. Paul Mahon’s Appellate Proceedings

       On December 5, 2001, Plaintiff Paul Mahon requested to exercise his right to

 mediation.8 After mediation reached an impasse, Paul Mahon’s attorney requested an

 appeal on May 29, 2002,9 and again on June 7, 2002.10 Paul Mahon filed a “Notice of

 Appeal” personally signed by him on June 14, 2002.11

       The National Appeals Division of the USDA initially denied Paul Mahon’s appeal

 as untimely – the National Appeals Division contended that his appeal was due to be

 filed within 10 days of April 25, 2002, the date upon which mediation concluded.12




       6
              R. 917 pg. 1205.
       7
              R. 920 pg. 73-74.
       8
              R. 920, p. 31-35.
       9
              R. 920 pg. 51.
       10
              R. 920 pg. 75.
       11
               R. 920 pg. 68-69. Paul Mahon’s Notice of Appeal is considered filed on June 14,
 2002 rather than June 13, 2002 because June 14th is the date on the postmark. See 7 C.F.R. §
 11.14(a).
       12
              R. 920 pg. 65-66.
                                              3
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       On June 20, 2002, Paul Mahon objected to the dismissal of his appeal because

 he was not notified that the mediation had reached an impasse until May 25, 2002 and

 there was never an agreement to have impasse declared on April 25, 2002.13 In fact,

 the record reflects that the Florida Agricultural Mediation Service considered the

 mediation involving Paul Mahon to reach an impasse on May 28, 2002.14

       On July 9, 2002, the National Appeals Division again dismissed Paul Mahon’s

 appeal because regardless of whether the mediation was concluded on April 25, 2002

 or May 28, 2002, Paul Mahon’s “personally signed” appeal, as required by agency

 regulations, was postmarked June 14, 2002, more than 10 days after the latest date the

 mediation could have been concluded.15

       On August 6, 2002, and again on September 3, 2002, Paul Mahon attempted to

 have his appeal reinstated as timely.16 His requests were denied on September 9,

 2002.17




       13
             R. 920 pg. 61.
       14
             R. 920, pg. 5.
       15
             R. 920 pg. 56-57.
       16
             R. 920 pg. 26-29, 4-5.
       17
             R. 920 pg. 1-3.
                                             4
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 B. John and Shelby Mahon’s Appellate Proceedings

       John and Shelby Mahon filed a Notice of Appeal with the National Appeals

 Division on June 13, 2002.18

       An evidentiary hearing was conducted on November 16, 2002.19 Thereafter, on

 December 4, 2002, the hearing officer entered an “Appeal Determination,” ruling in

 favor of John and Shelby Mahon and instructing the USDA to pay the loss as set forth in

 their application.20 In support of his determination, the hearing officer reasoned that

 “other nurseries located in [John and Shelby Mahon’s] County of residence and other

 Counties in the State, received benefits from the agency although those producers were

 late in paying the required License Fee to the State.”21 The hearing officer concluded

 that the agency’s decision to deny disaster relief to John and Shelby Mahon because

 their license to sell plants had expired while granting relief others in a similar situation

 was arbitrary and contrary to law.22 According to the hearing officer, the agency “must

 provide assistance to all producers equally.”23 In addition, the hearing officer reasoned

 that “the agency’s use of Florida Statutes as one of the basis for denying [John and


       18
              R. 917 pg. 663-664.
       19
              R. 917 pg. 688.
       20
              R. 917 pg. 688-701.
       21
              R. 917 pg. 693.
       22
              Id.
       23
              Id.
                                               5
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 Shelby Mahon’s] CDP benefits is not in accordance to the standards established by

 federal published regulations.”24 Stated another way, the agency’s decision should be

 based on federal statutes and regulations, not a Florida statute. Lastly, the hearing

 officer concluded that the agency’s determination that John and Shelby Mahon did not

 meet the definition of “best management practices” was erroneous.25 In particular, the

 hearing officer concluded that federal regulations did not impose a specific requirement

 upon a producer to have a greenhouse to grow liners, rather the producer must have

 some type of cover for the winter months, and John and Shelby Mahon used such a

 cover.26

       On December 27, 2002, an administrator for the USDA requested a review by the

 director of the National Appeals Division of the December 4, 2002 Appeal

 Determination.27

       The director entered his “Director Review Determination” on January 22, 2003,

 which reversed the hearing officer’s determination.28 The director concluded that John



       24
              Id.
       25
               R. 917 pg. 696. The hearing officer determined that the issue relating to whether
 the inventory submitted by John and Shelby Mahon in their application for benefits was in excess
 of the land available for growing the crop was moot since the parties agreed there was no
 evidence in the record to support such a claim. Id.
       26
              R. 917 pg. 696.
       27
              R. 917 pg. 1459-1464.
       28
              R. 917 pg. 1417-1421.
                                                6
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 and Shelby Mahon’s request for disaster relief was appropriately denied because they

 “did not provide adequate freeze protection for their container grown nursery crops” as

 required by federal regulations.29

       On February 7, 2003, John and Shelby Mahon requested reconsideration of the

 “Director’s Review Determination.”30 Thereafter, on August 15, 2003, the director

 issued a “Revised Director Review Determination.”31 In the revised determination, the

 deputy director, who was delegated the authority to make determinations on requests

 for reconsideration, concluded that the director’s original “determination was based on a

 material fact that was in error.”32 The deputy director therefore conducted a de novo

 review of the procedural and regulatory issues raised by Paul and Shelly Mahon and

 concluded that the hearing officer’s decision must be reversed.33

       With respect to the procedural matters before the deputy director, he concluded

 that the administrator’s appeal of the hearing officer’s decision was timely because it

 was filed within 15 business days after the agency received the hearing officer’s




       29
              R. 917 pg. 1420.
       30
              R. 917 pg. 1407-1414.
       31
              R. 917 pg. 1481-1491.
       32
              R. 917 pg. 1481.
       33
              Id.
                                             7
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 decision.34 Additionally, the deputy director rejected John and Shelby’s Mahon

 argument that the hearing officer’s decision should be reinstated because the director

 did not issue a final determination within 10 business days after the director received

 the administrator’s request for review.35 The deputy director reasoned that the statute

 and regulations did not require dismissal of a case for failure to meet the 10 day

 requirement, and it was “settled law that, in the absence of such a deadline, courts do

 not impose a coercive sanction such as that proposed by [John and Shelby Mahon].”36

 Lastly, the deputy director also concluded that there was no basis in statute or

 regulation which would require reinstatement of the hearing officer’s decision because

 the deputy director failed to issue his revised determination within the time period

 provided by the regulations.37

       With respect to the substantive issues before the deputy director, he concluded

 that the record did not support the agency’s decision to deny disaster relief John and

 Shelby Mahon on the grounds that their loss was due poor farming practices.38

 However, the deputy director decided that the agency properly denied disaster relief to

 John and Shelby Mahon because they were not operating as a commercial nursery at


       34
              R. 917 pg. 1484.
       35
              Id.
       36
              Id.
       37
              Id.
       38
              R. 917 pg. 1486.
                                              8
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 the time of their loss.39 The deputy director reasoned that federal regulations limited

 disaster relief “ornamental nursery crops that were grown in a container or controlled

 environment for commercial sale on property owned or leased by the producer,” and

 since John and Shelby Mahon were not certified as a commercial nursery under Florida

 law, and since their crops could not be legally sold under Florida law without such a

 certification on the dates of their loss, disaster benefits were properly denied.40

       On September 9, 2003, John and Shelby Mahon filed their “Request for

 Reconsideration of the Director’s Revised Review.”41 Their request was denied on

 October 17, 2003.42

                                            Standard

       Pursuant to 5 U.S.C. § 706(2), in reviewing an agency’s action, the Court must

 hold unlawful and set aside an agency action, findings, and conclusions found to be

 arbitrary, capricious, an abuse of discretion, unconstitutional, in excess of statutory

 authority, without observance of procedure as required by law, unsupported by

 substantial evidence, or unwarranted by the facts to the extent that the facts are subject

 to trial de novo by the reviewing court.




       39
              R. 917 pg. 1487.
       40
              R. 917 pg. 1487-1488 (emphasis in original).
       41
              R. 917 pg. 1505-1511.
       42
              R. 917 pg. 1519-1521.
                                               9
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                                            Discussion

 A. Dismissal of Paul Mahon’s Appeal as Untimely

        Pursuant to 7. C.F.R. § 11.6(b)(1), once Paul Mahon received notice that his

 application for disaster relief was denied, he had 30 days to appeal the adverse

 decision. However, since Paul Mahon requested mediation prior to filing an appeal, the

 30-day period was tolled and he had the balance of the days remaining in that period to

 file an appeal after mediation was concluded.43

        According to the record, Paul Mahon received notice that his application was

 denied on November 13, 2001. On December 5, 2001, or 22 calendar days later,44 Paul

 Mahon gave notice to the agency that he intended to exercise his right to mediation.

 Accordingly, the 30-day period was tolled and he had 8 days after mediation concluded

 to file an appeal.45 Since mediation reached an impasse on May 28, 2002, Paul Mahon

 had 8 days, or until June 5, 2002, to submit an appeal to the agency. Before his time to

 appeal expired, Paul Mahon’s attorney requested an appeal on May 29, 2002, but the

 request for an appeal was not personally signed by Paul Mahon.



        43
               See 7 C.F.R. § 11.5(c)(1).
        44
               Pursuant to 7 C.F.R. § 11.1, “[d]ays means calendar days unless otherwise
 specified.”

        45
                The agency provided Paul Mahon with 7 days in addition to 30 days allowed by
 regulation to file his appeal to account for “delivery time.” See R. 920 pg. 65. This 7 day delivery
 time does not appear to be contemplated by the regulations, therefore the Court does not use this
 time in its calculations. See 7 C.F.R. § § 11.1, 11.14.
                                                 10
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        Paul Mahon claims that his appeal was timely filed on May 29, 2002 and that

 there is no “personal signature” requirement which makes his May 29th appeal

 defective. This argument is without merit. 7 C.F.R. § 11.6(b), entitled “Appeals of

 adverse decisions,” provides the following procedure for requesting an appeal from an

 adverse agency decision:

        (1) To obtain a hearing under § 11.8, a participant personally must request
        such hearing not later than 30 days after the date on which the participant
        first received notice of the adverse decision or after the date on which the
        participant receives notice of the Director's determination that a decision is
        appealable. . .

        (2) A request for a hearing shall be in writing and personally signed by the
        participant, and shall include a copy of the adverse decision to be
        reviewed, if available, along with a brief statement of the participant's
        reasons for believing that the decision, or the agency's failure to act, was
        wrong. The participant also shall send a copy of the request for a hearing
        to the agency, and may send a copy of the adverse decision to be
        reviewed to the agency, but failure to do either will not constitute grounds
        for dismissal of the appeal. Instead of a hearing, the participant may
        request a record review.46

 Since § 11.6(b) requires a personally signed request within 30 days to appeal an

 adverse agency decision, and since it is undisputed that no such personally signed

 request was received by the agency within the 30-day window which applied to Paul

        46
                (emphasis added). Paul Mahon claims that this section “never came into play”
 because he never requested a “hearing.” However, the regulations, when read as whole, clearly
 contemplate § 11.6(b) as the sole avenue for appealing an agency’s adverse decision. See, e.g.,
 7 C.F.R. § 11.5(c)(1) which provides “the participant stops the running of the 30-day period during
 which a participant may appeal to [National Appeals Division] under § 11.6(b)(1) . . .”
                Paul Mahon also contends that 7 C.F.R. § 11.6(a) provides the procedures to appeal
 an agency’s adverse decision, however this section only applies to participants who wish to appeal
 “a determination from an agency that an agency decision is not appealable.” And even if § 11.6(a)
 did apply, this section also requires the request to be personally signed.
                                                 11
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 Mahon, the Court concludes that Paul Mahon failed to exhaust the administrative

 remedies available to him by not filing a timely administrative appeal, therefore this

 Court has no jurisdiction to further review his claims.47

 B. John and Shelby Mahon’s Appeal

        The sole issue before the Court on John and Shelby Mahon’s appeal involves the

 interpretation of the agency’s regulation – specifically, whether John and Shelby Mahon,

 who were not registered to sell nursery crops and therefore prohibited under state law

 from selling such crops in the state,48 are eligible for disaster relief benefits when such

 benefits are expressly limited by agency regulations to nursery crops grown for

 “commercial sale.”

        John and Shelby Mahon argue that federal regulations did not require them to

 have a certificate of registration with the State of Florida to be considered an eligible

 “commercial” producer and to receive benefits from the agency, and that they should

 not be denied benefits when others who did not have a certificate received such



        47
                See Counts v. American Gen. Life and Accident Ins. Co., 111 F.3d 105, 108 (11th
 Cir. 1997) (finding in favor of the Defendant in an ERISA action where the Plaintiff failed to exhaust
 administrative remedies available by filing an appeal with the agency before suing in federal court);
 Johnson v. Meadows, 418 F.3d 1152, 1159 (11th Cir. 2005) (holding that a prisoner’s grievance
 filed against prison officials out-of-time and without good cause was not sufficient to exhaust his
 administrative remedies for purposes of the Prison Litigation Reform Act’s exhaustion
 requirement).
        48
                It is undisputed that John and Shelby Mahon did not have a current Florida certificate
 of registration at the time they lost their crops to freeze damage. What is disputed is what this fact
 means – does it mean that John and Shelby Mahon were “commercial” producers or not? This
 is a question of law which is appropriate for the Court to decide on summary judgment.
                                                  12
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 benefits. In response, the USDA argues that its interpretation of the term “commercial”

 is reasonable, therefore the Court should defer to the USDA’s interpretation and affirm

 its decision to deny benefits to John and Shelby Mahon who were not “commercial”

 producers at the time their crop was damaged by the freeze.

       In interpreting a regulation administered by an agency, the Court applies a two-

 part process.49 First, if congressional intent is clear, then the Court and the agency

 must give effect to the unambiguously expressed intent of Congress.50 However, where

 the statute or regulation is silent or ambiguous with respect to the particular issue, the

 Court is obligated to defer to the agency’s interpretation of the statute or regulation if

 that interpretation is reasonable.51 “An agency's interpretation is reasonable and

 controlling unless it is arbitrary, capricious, or manifestly contrary to the statute.”52 And

 when an agency is interpreting its own regulations, its interpretation is entitled to “great

 deference.”53

       In this case, Congress has provided no guidance as to what the term “commercial

 sale” means, therefore the Court is required to defer the agency’s interpretation of the


       49
              Cadet v. Bulger, 377 F.3d 1173, 1185 (11th Cir. 2004).
       50
              Id.
       51
              Id.
       52
              Id. (internal quotations omitted).
       53
              Id. at 1186; see also Brennan v. S. Contractors Serv., 492 F.2d 498, 501 (5th Cir.
 1974) (holding that Secretary of Labor’s interpretation of a regulation promulgated under
 Occupational Safety and Health Act was entitled to “great weight”).
                                                   13
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 term so long as it reasonable. The Court concludes that the agency’s interpretation of

 the term is reasonable, therefore the agency’s decision is due to be affirmed.

        7 C.F.R. § 1480 et seq. sets forth the terms and conditions for the 2001 and 2002

 Crop Disaster Program.54 The purpose of the program is to provide disaster assistance

 to producers who incurred losses due to disasters incurring in 2001 and 2002.55

 Specifically, 7 C.F.R. § 1480.4(a) provides that “[p]roducers in the United States will be

 eligible to receive disaster benefits under this part only if they have suffered losses of

 eligible crops in 2001 or 2002 as a result of a disaster or related condition. . .” For

 ornamental nursery crops, “disaster benefits . . . are limited to ornamental nursery crops

 that were grown in a container or controlled environment for commercial sale on

 property owned or leased by the producer, and cared for and managed using good

 nursery growing practices.”56

        The agency denied disaster relief benefits, in part, because the agency

 concluded that John and Shelby Mahon’s nursery crops were not for “commercial sale.”

 Specifically, since John and Shelby Mahon were not registered with the State of Florida,

 as required by Fla. Stat. § 581.131,57 and were prohibited from selling their plants

        54
               7 C.F.R. § 1480.1.
        55
               Id.
        56
               7 C.F.R. § 1480.18 (emphasis added).
        57
                Fla. Stat. § 581.131(1) provides that “[b]efore any nurseryman shall sell or distribute,
 or offer for sale or for distribution, any nursery stock in this state, she or he shall apply to the
                                                                                        (continued...)
                                                   14
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 without a registration under Florida law,58 the agency concluded that their crops were

 not for “commercial sale.”

        The Court cannot say that the agency’s interpretation of the regulation is

 unreasonable or contrary to law. Although federal regulations do not require producers

 to be registered or licensed by a state to sell nursery crops to qualify for disaster relief,

 the regulations also do not define “commercial sale” and the agency’s interpretation of

 the term is entitled to deference. Further, it is reasonable to limit the term “commercial

 sale” to those sales which are legal, or to those producers who are properly registered

 and lawfully selling nursery crops under Florida law. Lastly, although it may seem unfair

 to John and Shelby Mahon that the agency provided benefits to other producers who

 did not have valid certificates under state law, there is no evidence that the agency

 knew that these producers did not have a certificate and granted them benefits




        57
          (...continued)
 director of the division, on forms supplied by the division, for a certificate of registration.”
        58
               Fla. Stat. § 581.121 provides “[i]t is unlawful for any nurseryman, stock dealer, agent,
 or plant broker to sell, give away, transfer, move or cause to be moved, carry, ship, or deliver for
 carriage or shipment any nursery stock except in compliance with the provisions of this chapter
 and the rules made pursuant to law.”


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 anyway,59 thus the Court cannot conclude on these grounds alone that the agency’s

 actions were unreasonable and contrary to law.

                                           Conclusion

        Accordingly, upon due consideration, it is ordered that:

        (1) the Plaintiffs’ Motion for Summary Judgment is DENIED;

        (2) since there are no genuine issues of material fact, summary judgment is

 GRANTED in favor of the Defendant;

        (3) the Defendant’s decision to deny disaster relief benefits to the Plaintiffs is

 AFFIRMED; and

        (4) the Clerk is directed to enter judgment accordingly, terminate any pending

 motions, and close the file in this matter.

        IT IS SO ORDERED.

        DONE and ORDERED at Ocala, Florida this 7th day of April, 2006.




 Copies to:    Counsel of Record



        59
                The hearing officer stated in his Appeal Determination that witnesses testified that
 they “obtained benefits from the agency for the same crop-year in the same County; and that the
 agency never asked them if they were certified by the State.” R. 917 pg. 692. In addition, John
 and Shelby Mahon admit that there was no evidence produced at the hearing which showed
 whether the agency had any knowledge about other producers who received benefits and were
 not certified. R. 917 pg. 1508.
                                                 16
